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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

 ELIS FOR RACHAEL, INC., et al.,

                    Plaintiffs,

         v.                                                  Case No. 3:22-cv-01517-MPS

 YALE UNIVERSITY, et al.,                                    December 7, 2022

                    Defendants.

 JOINT MOTION FOR STAY AND REFERRAL FOR SETTLEMENT CONFERENCE

       The Parties jointly move the Court to stay all proceedings in this matter for at least thirty

(30) days, in order for the Parties to engage in settlement discussions, and request a referral to U.S.

Magistrate Judge David Vatti, for a Settlement Conference to be held as soon as possible. The

Parties propose that they report to the Court regarding the status of the matter on or about thirty

(30) days from the entry of the stay.
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                           PLAINTIFFS
                           ELIS FOR RACHAEL, INC.; ALICIA
                           ABRAMSON; HANNAH NEVES

                           DISABILITY RIGHTS OF CONNECTICUT,
                           INC.
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                           VLADECK, RASKIN & CLARK, P.C.

                           By: /s/Susanna Barron_
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                             Susanna Barron
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                              Their Attorneys



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                           DEFENDANTS
                           YALE UNIVERSITY; PRESIDENT AND
                           FELLOWS OF YALE UNIVERSITY

                           By: /s/ James M. Sconzo
                             James M. Sconzo (ct04571)
                             Brendan N. Gooley (ct30584)
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                              Their Attorneys




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                                CERTIFICATE OF SERVICE

       I certify that on this 7th day of December, 2022, the foregoing was electronically filed

through this Court’s CM/ECF system, which will send a notice of filing to all counsel.



                                                           /s/ Brendan N. Gooley
                                                           Brendan N. Gooley
